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                                                               United States Department of Justice

                                                               William J Powell
                                                               United States Attorney
                                                               United States Attorney ‘s Office
                                                               Northern District of West Virginia
                                                               W. Craig l3roadwater Federal Building
                                                               217 West King Street
                                                               Suite 400                             Fax: (T!059l
                                                               Martinsburg, WV 25401
                                                                                             FEB
                                                               January 9, 2018
                                                                                     U.s. DISTRICT
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                                                                                                     WV 254o0
   J. Mark Sutton
   Sutton & Janelle, PLLC
   125 E. King Street
   Martinsburg, WV 25401

   In re:   United States v. Alarhi Savimi Roberts,
            Criminal Action No.: 3:17-CR-50-01

   Dear Mr. Sutton:

           This will confirm conversations with you concerning your client, Ajarhi Savimi Roberts
   (hereinafter referred to as “Defendant”). All references to the “Guidelines” refer to the guidelines
   established by the United States Sentencing Commission, effective November 1, 1987, as
   amended.

            It is agreed between the United States and your client as follows:

            1.        Defendant will plead guilty to Count Thirty-Three, Bank Fraud, in violation of 18
  U.S.C.    §    1344(1) of the Indictment.

           2.      The maximum penalty to which Defendant will be exposed by virtue of his plea of
  guilty, as stated in paragraph one above is not more than thirty years imprisonment, not more than
  five years supervised release, and a fine of$1,000,000 as to Count Thirty-Three.

         It is further understood by Defendant that there is a special mandatory assessment of
  $100.00 (18 U.S.C. § 3013) per felony conviction which must be paid within 40 days following
  entry of his plea by money order or certified check to the United States District Court. It is also



                      berts, Defendant                        Date

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J. Mark Sutton, Esq., Counsel for Defendant                   Date

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   understood that Defendant may be required by the Court to pay the costs of his incarceration,
   supervision, and probation.

           3.      Defendant recognizes that pleading guilty may have consequences with respect to
   his immigration status if he is not a citizen of the United States. Under federal law, a broad range
   of crimes are removable offenses, including the offense to which Defendant is pleading guilty.
   Removal and other immigration consequences are the subject of a separate proceeding, however,
   and Defendant understands that no one, including his attorney or the district court, can predict to
   a certainty the effect of his conviction on his immigration status. Defendant nevertheless affirms
   that he wants to plead guilty regardless of any immigration consequences that his plea may entail,
   even if the consequence is his automatic removal from the United States.

           4.     Defendant will be completely forthright and truthful with regard to all inquiries
   made of him and will give signed, sworn statements and grand jury and trial testimony relative
   thereto. Defendant will agree to submit to a polygraph examination if requested to do so by the
   United States Attorney’s Office for the Northern District of West Virginia.

            5.     A. Nothing contained in any statement or any testimony given by Defendant,
   pursuant to paragraph four, will be used against him as the basis for any subsequent prosecution.
   It is understood that any information obtained from Defendant in compliance with this cooperation
   agreement will be made known to the sentencing court; however, pursuant to Guideline lB 1.8,
   such information may not be used by the Court in determining Defendant’s applicable guideline
   range.

                  B. This agreement does not prevent Defendant from being prosecuted for any
   violations of other Federal and state laws he may have committed should evidence of any such
   violations be obtained from an independent legitimate source, separate and apart from that
   information and testimony being provided by him pursuant to this agreement.

                   C. In addition, nothing contained in this agreement shall prevent the United States
   from prosecuting Defendant for perjury or the giving of a false statement to a federal agent, if such
   a situation should occur by virtue of him fulfilling the conditions of paragraph four above.

          6.     At final disposition, the United States will advise the Court of Defendant’s
  forthrightness and truthfulness, or failure to be forthright and truthful, and ask the Court to give
  the same such weight as the Court deems appropriate. If, in the opinion of the United States,
  Defendant fails to be forthright and truthful with regard to all inquiries made of him, then
  the United States will          dismiss the remaining counts in the Indictment as to this
  Defendant.



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    AjafviiiRoberts, Defendant                                   Date

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    J. Mark Sutton, Esq., Counsel for Defendant                  Date
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            7.      There have been no representations whatsoever by any agent or employee of the
   United States, or any other law enforcement agency, or Defendant’s counsel as to what the final
   disposition in this matter should and will be.              This agreement includes nonbinding
   recommendations by the United States, pursuant to Rule 1 1(c)(1)(B); however, Defendant
   understands that the Court is not bound by these sentence recommendations, and that Defendant
   has no right to withdraw a guilty plea if the Court does not follow the sentencing recommendations
   set forth in this plea agreement.

         8.    Contingent upon Defendant’s payment of the $100.00 special assessment fee
  within 40 days following the entry of his plea, the United States will make the following
  nonbinding recommendations:

                 A.            If, in the opinion of the United States Attorney’s Office, Defendant
                               accepts responsibility and if the probation office recommends a two-
                               level reduction for “acceptance of responsibility,” as provided by
                               Guideline 3E1 .1, then the United States will concur in and make such
                               recommendation;

                 B.           Should Defendant give timely and complete information about his
                              own criminal involvement and provide timely notice of his intent to
                              plead guilty, thereby permitting the United States to avoid trial
                              preparation and if he complies with all the requirements of this
                              agreement, and if Defendant is eligible under the “Guidelines”,
                              then United States will recommend an additional one level reduction,
                              so long as Defendant executes the plea agreement on or before
                         q                  2018 at 5:00 p.m. and returns an executed copy to the
                              United States by that day;

                 C.           The United States will recommend that any sentence of incarceration
                              imposed should be at the lower end of the applicable guideline range.

          9.     If in the opinion of the United States, Defendant either engages in conduct defined
  under the Applicable Notes of Guideline 3C1.1, fails to cooperate as promised, fails to pay the
  special assessment within 40 days following the entry of his plea, or violates any other provision
  of this plea agreement, then the United States will not be bound to make the foregoing
  recommendations, and the Defendant will not have the right to withdraw the plea.

          10.    Pursuant to Sections 6B1.4, 181.3 and 2D1.1 [Application Note 12] of the
  Guidelines, the parties hereby stipulate and agree that the total relevant conduct of Defendant with
  regard to the Indictment is that Defendant unlawfully acquired and possessed the names,


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   AjaviRoberts, Defendant                                     Date

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   J. Mark Su’fion, Esq., Counsel for Defendant                Date

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   signatures, dates of birth, Social Security numbers, and driver’s license numbers of ten
   persons known to the Grand Jury. Defendant then used the information to create false
   identification documents, create false access checks, and apply and receive credit cards from
   various financial institutions. The actual loss as a result of Defendant’s conduct is
   $26,182.19. The parties understand that pursuant to Section 6B1.4(d), the Court is not bound by
   the above stipulation and is not required to accept the same. Defendant understands and agrees
   that should the Court not accept the above stipulation, Defendant will not have the right to
   withdraw his plea of guilty.

           11.     Defendant acknowledges that restitution is mandatory pursuant to Title 18, United
   States Code, Section 3663A. Defendant agrees that he shall pay restitution in the amount of the
   victim’s losses as determined by the Court to the victims. Defendant agrees that he is jointly and
   severally liable for restitution.

          12.     Defendant further agrees that the payment of said restitution may be made a
  provision of the Judgment and Commitment Order entered by the Court. Defendant understand
  that, pursuant to Title 18, United States Code, Section 3613, any criminal monetary penalty made
  a provision of the Judgment and Commitment Order shall be due and payable immediately and
  will be subject to immediate enforcement by the United States as provided for in Section 3613.

          13.    In aid of restitution:

                 a.      Defendant agrees to fully assist the United States in identifying and locating
                         any assets to be applied toward the restitution obligation imposed by the
                         Court.

                 b.       Defendant agrees to participate in one or more presentence debtor
                         examinations to be conducted by the United States and to give signed, sworn
                         statements and testimony concerning assets upon request of the United
                         States.

                 c.      Defendant authorizes the Financial Litigation Unit in the U.S. Attorneys
                         Office for the Northern District of West Virginia to access his credit report
                         from any major credit reporting agency, in order to assess his financial
                         condition for sentencing purposes.

                 d.      Defendant agrees not to dispose of transfer, or otherwise encumber any real
                         or personal property which he currently owns or in which he holds an
                         interest.




   Aji irni Roberts Defendant                                   Date


   J. Mark Sutton. Esq., Counsel for Defendant                  Date
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                 e.      Defendant agrees to fully cooperate with the United States in the liquidation
                         of assets to be applied towards restitution, to execute any and all documents
                         necessary to transfer title of any assets available to satisfy restitution, to
                         release any and all right, title and interest he may have in and to such
                         property, and waives his right to exemptions under the Federal Debt
                         Collection Procedures Act upon levy against and the sale of any such
                         property.

                 f.       Defendant acknowledges and agrees that if the Court imposes a payment
                         schedule for the payment of any criminal monetary penalty, then the
                         payment schedule shall be the minimum payment obligation and shall not
                         be the only method or a limitation on the methods available to the United
                         States to enforce the criminal monetary penalty judgment. Defendant
                         further agrees that if he is incarcerated, then he shall participate in the
                         Inmate Financial Responsibility Program established by the U.S. Bureau of
                         Prisons, regardless of whether the Court requires such participation or
                         imposes a criminal monetary penalty payment schedule.

                 g.      Defendant agrees not to appeal any order of the District Court imposing
                        restitution unless the amount of restitution imposed exceeds the amount set
                        forth in this plea agreement. However, nothing in this provision is intended
                        to preclude the Court from ordering Defendant to pay a greater or lesser
                        sum of restitution in accordance with law.

           14.     Defendant understands that the forfeiture of property will be part of the sentence
  imposed in this case. The United States Attorney’s Office agrees to make a non-binding
  recommendation to the Money Laundering and Asset Recovery Section of the Department of
  Justice that any monies obtained from Defendant through forfeiture be distributed to the victim of
  the offense to be set off against any restitution order entered in this case.

                 a.     Defendant agrees to the entry of a forfeiture personal money
                        judgment in the amount determined by the Court, constituting proceeds of
                        the offense conduct underlying this agreement.

                 b.     Defendant stipulates that substitute property is subject to forfeiture
                        because, as a result of Defendant’s acts and omissions, all property
                        subject to direct forfeiture is not available for forfeiture for the reasons
                        described in 21 U.S.C. § 853(p)(l), subparagraPhs (A) (E). Until the value
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                        of such property subject to direct forfeiture has been forfeited, Defendant




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   J. Mark Sutton. Esq., Counsel for Defendant                 Date

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                        will not contest the forfeiture of any substitute asset the government seeks
                        to forfeit.

                c.     Defendant agrees to identify all property over which Defendant exercises
                       control. Defendant also agrees to identify any other property, regardless of
                       who owns or controls such property, which constitutes direct or indirect
                       proceeds of or was otherwise involved in, the offense conduct underlying
                       this agreement, and to identify anything that could be forfeited as substitute
                       property. Defendant further agrees to take all steps as requested by the
                       United States to obtain from any other person, by any lawful means, all
                       records of assets owned by Defendant. Defendant also agrees to execute any
                       deed or other document containing any necessary assurance to effectuate
                       the transfer of title to forfeitable assets to the United States, and to testify
                       truthfully in any judicial forfeiture proceeding. Defendant further agrees to
                       undergo any polygraph examination the United States may choose to
                       administer concerning such assets.

                d.     Notwithstanding any provision in this agreement, any statute, or any rule to
                       the contrary, any property that would otherwise be subject to forfeiture shall
                       not be exempted therefrom because a statement made by Defendant
                       referred to, identified, or led to the identification or location of such
                       property.

                e.     Defendant hereby waives all interest in any property subject to this plea
                       agreement in any administrative or judicial forfeiture proceeding, whether
                       criminal or civil, state or federal. Defendant also agrees to consent to
                       the entry of orders of forfeiture for such property and waives the
                       requirements of Federal Rules of Criminal Procedure 32.2 and 43(a)
                       regarding notice of the forfeiture in the charging instrument, the
                       announcement of the forfeiture at sentencing, and the incorporation of the
                       forfeiture in the judgment. Defendant agrees to take all steps as
                       requested by the United States to pass clear title to forfeitable assets to the
                       United States, and to testify truthfully in any judicial forfeiture proceeding.

                f.     Defendant also waives all constitutional and statutory challenges in any
                       manner (including direct appeal. habeas corpus, or any other means) to any
                       forfeiture carried out in accordance with this plea agreement on any
                       grounds, including that the forfeiture constitutes an excessive fine or
                       punishment. Defendant further waives any failure by the Court to advise




                  Defendant
   Aja?iRobe rts. ‘>‘                                         Date


   J. Mark Sutton. Esq., Counsel for Defendant                Date    //
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                          Defendant of the applicable forfeiture at the time the guilty plea is
                          accepted as required by Rule 1 l(b)(1)(J).

           15.    Defendant is aware that 18 U.S.C. § 3742 affords a defendant the right to appeal
   the sentence imposed. Acknowledging this, and in exchange for the concessions made by the
   United States in this plea agreement if the Court sentences within the statutory maximum of the
   statute of conviction, the defendant waives the right:

                      a. to appeal any order, the conviction and whatever sentence is imposed on
                         any ground, including any appeal right conferred by 18 U.S.C. § 3742 and,

                      b. to challenge the conviction or the sentence or the manner in which it was
                         determined in any postconvictiOn proceeding, including any proceeding
                         under Title 28, United States Code, Section 2255. Nothing in this
                         paragraph. however, will act as a bar to Defendant perfecting any legal
                         remedies she may otherwise have on appeal or collateral attack respecting
                         claims of ineffective assistance of counsel or prosecutorial misconduct.
                         Defendant agrees that there is currently no known evidence of ineffective
                         assistance of counsel or prosecutorial misconduct.

           16.    The United States reserves the right to provide to the Court and the United States
   Probation Office, in connection with any presentence investigation that may be ordered pursuant
   to Rule 32(c) of the Federal Rules of Criminal Procedure, or in connection with the imposition of
   sentence should the Court, pursuant to Rule 32(c)(1), not order a presentence investigation,
   relevant information, including information regarding Defendant’s background, criminal record,
   the offense charged in the Indictment and other pertinent data appearing at Rule 32(c)(2) of the
   Federal Rules of Criminal Procedure, as will enable the Court to exercise its sentencing discretion.
   The United States also retains the right to respond to any questions raised by the Court, to correct
   any inaccuracies or inadequacies in the anticipated presentence investigation report to be prepared
   by the Probation Office of the Court, and to respond to any written or oral statements made by the
   Court, by Defendant, or his counsel.

            17.   Defendant agrees that all monetary penalties imposed by the Court will be due and
   payable immediately and subject to immediate enforcement by the United States as provided for
   in 18 U.S.C. § 3613. FurthermOre, Defendant agrees to provide all requested financial information
   to the United States and the Probation Office and agrees to participate in a pre-sentencing debtor
   examination. Defendant also authorizes the Financial Litigation Unit in the U.S. Attorney’s Office
   for the Northern District of West Virginia to access Defendant’s credit report from any major credit
   reporting agency prior to sentencing, in order to assess the financial condition for sentencing
   purposes. Defendant agrees, under penalty of perjury, to complete a financial statement to be




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   returned with the plea agreement. If the Court imposes a schedule of payments, Defendant agrees
   that it will be deemed to be merely a minimum schedule of payments, not the only method available
   to the United States to enforce the judgment. If Defendant is incarcerated, Defendant agrees to
   participate in the Bureau of Prisons’ Inmate Financial Responsibility Program, regardless of
   whether the Court specifically directs participation or imposes a schedule of payments. In
   addition, Defendant agrees that the United States, through the Financial Litigation Unit, may
   submit any unpaid criminal monetary penalty to the United States Treasury for offset, regardless
   of Defendant’s payment status or history at the time of said submission.

           18.     Defendant understands that the United States Sentencing Guidelines are now
   advisory and no longer mandatory. It is therefore understood that the sentencing court may
   ascertain and impose a sentence below or above the applicable Guideline range, so long as that
   sentence is reasonable and within the statutory maximum specified in Title 18 of the United States
   Code for the offenses of conviction.

            19.    If Defendant’s plea is not accepted by the Court or is later set aside or if he
   breaches any part of this Agreement, then the Office of the United States Attorney will have the
   right to withdraw any sentencing recommendations and/or to void this Agreement.

         20.     The above nineteen (19) paragraphs constitute the entire agreement between
   Defendant and the United States of America in this matter. There are no agreements,
   understandings, or promises between the parties other than those contained in this
   Agreement.

                                                               Very truly yours,

                                                               William J. Powell
                                                               United States Attorney



                                                       By:
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                                                         ara K. Omps-Bottei her
                                                          Assistant United States Attorney

          As evidenced by my signature at the bottom of the eight (8) pages of this letter agreement,
  I have read and understand the provisions of each paragraph herein and, hereby, fully approve of
  each provision.




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                                                                          “‘U
   Ajarhi avirni Roberts, Defendant                            Date


   J. Mrk Sutton, Esq., Counsel for Defendant                  Date
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